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                           IN THE UNTIED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEW MEXICO

 SUSIE ZAPATA and MONICA GARCIA,

          Plaintiffs,

          v.                                                             Case No. 1:21-CV-00083 MV/JFR

 LEON MARTINEZ, ROBERTA LUCERO-ORTEGA,
 ARTHUR SANCHEZ, BERLEEN ESTEVAN,
 and SUMMIT FOOD SERVICE, LLC,

           Defendants,

            PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANT
        ROBERTA LUCERO-ORTEGA’S MOTION FOR SUMMARY JUDGMENT

           Plaintiffs Susie Zapata and Monica Garcia, by and through their counsel of record, Steven

Robert Allen (New Mexico Prison & Jail Project), hereby respond to Defendant Lucero-Ortega’s

Motion for Summary Judgment and respectfully ask this Court to deny this Motion.1 In support of

their response, Plaintiffs submit the following:

                                               I.       INTRODUCTION

        Susie and Monica were incarcerated at Western New Mexico Correctional Facility in

Grants, New Mexico during a dangerous, widespread rodent infestation at the prison that endured

for many years. The infestation was centered in and around the prison’s kitchen where Susie and

Monica worked during significant portions of their incarceration.

        Almost everyone, at some point or another in their lives, will experience the inconvenience

of a mouse or two in the place where they live or work. Plaintiffs’ amended complaint alleges


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  Plaintiffs also note Defendant Lucero-Ortega failed to make any attempt to determine Plaintiffs’ position on this
Motion, pursuant to D.N.M.LR-Civ. 7.1. (“Movant must determine whether a motion is opposed, and a motion that
omits recitation of a good-faith request for concurrence may be summarily denied.”)
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nothing so mundane. Susie and Monica were forced to live, work, eat and sleep in the middle of

an extensive infestation that posed an obvious and substantial threat to their health and well-being.

The facts are so shocking that they would be difficult to believe if they weren’t so well-documented

in voluminous records and witness testimony.

       During her tenure as warden, Defendant Lucero-Ortega was responsible for ensuring the

safety and well-being of Susie and Monica. She failed profoundly to meet this responsibility.

Defendant Lucero-Ortega was well-aware of the rodent infestation, and she knew how dangerous

it was. She was required to take reasonable steps to address the infestation and she failed to do so.

Consequently, Defendant Lucero-Ortega is individually responsible for the violation of Susie and

Monica’s constitutional rights under the Eighth Amendment to the U.S. Constitution.

       Defendant’s Motion ignores the numerous critical disputes of material fact in this case while

also fundamentally misapplying key legal concepts and judicial precedent in support of her legal

arguments. For these reasons, as demonstrated below, summary judgment should be denied.

                           II.     DISPUTED MATERIAL FACTS (“DMFs”)

       Plaintiffs dispute Defendant’s “Statement of Undisputed Facts” as Disputed Material Facts

(“DMF”) in the following manner:

   1. Plaintiffs admit the factual contentions in Paragraph 1.

   2. Plaintiffs admit the factual contentions in Paragraph 2.

   3. Plaintiffs admit the factual contentions in Paragraph 3.

   4. Plaintiffs admit the factual contentions in Paragraph 4 but dispute they are material to

       Defendant’s claim preclusion argument.




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5. Plaintiffs admit the factual contentions in Paragraph 5 but dispute they are material to

   Defendant’s claim preclusion argument.

6. Plaintiffs admit the factual contentions in Paragraph 6 but dispute they are material to

   Defendant’s claim preclusion argument. The factual contentions in this paragraph are

   material to Defendant’s assertion of the defense of qualified immunity because they

   undermine her contention that she was not deliberately indifferent to the substantial risk of

   serious harm posed to Plaintiffs by the rodent infestation.

7. Plaintiffs admit the factual contentions in Paragraph 7 but dispute they are material to

   Defendant’s claim preclusion argument. These factual contentions are material to

   Defendant’s assertion of the defense of qualified immunity because they undermine her

   contention that she was not deliberately indifferent to the substantial risk of serious harm

   posed to Plaintiffs by the rodent infestation.

8. Plaintiffs admit the factual contentions in Paragraph 8 but dispute they are material to

   Defendant’s claim preclusion argument.

9. Plaintiffs admit the factual contentions in Paragraph 9 but dispute they are material to

   Defendant’s claim preclusion argument.

10. Plaintiffs admit the factual contentions in Paragraph 10 but dispute they are material to

   Defendant’s claim preclusion argument.

11. Plaintiffs admit the factual contentions in Paragraph 11 but dispute they are material to

   Defendant’s claim preclusion argument.

12. Plaintiffs admit the factual contentions in Paragraph 12 but dispute they are material to

   Defendant’s claim preclusion argument.



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13. Plaintiffs admit the factual contentions in Paragraph 13 but dispute they are material to

   Defendant’s claim preclusion argument.

14. Plaintiffs admit the factual contentions in Paragraph 14.

15. Plaintiffs admit the factual contentions in Paragraph 15.

16. Plaintiffs admit the factual contentions in Paragraph 16 while also noting that the parties

   in Duran agreed that the provisions of the Second Revised Settlement Agreement would

   only go into effect on the date the “Court enters its final approval order.” See Second

   Revised Settlement Agreement, attached hereto as Exhibit 1 at ¶ 18.

17. Plaintiffs admit the factual contentions in Paragraph 17.

18. Plaintiffs admit the factual contentions in Paragraph 18 but dispute they are material to

   Defendant’s claim preclusion argument. However, the factual contentions in this paragraph

   are material to Defendant’s assertion of the defense of qualified immunity because they

   undermine her contention that she was not deliberately indifferent to the substantial risk of

   serious harm posed to Plaintiffs by the rodent infestation.

19. Plaintiffs dispute the factual contentions in paragraph 19. Neither Plaintiff is a current

   member of the Duran class. See DMF ¶¶ 2, 3 and 17.

20. Plaintiffs admit the factual contentions in Paragraph 20, but they note that in failing to

   address the rodent infestation Defendant violated NMCD policy and failed to adequately

   perform her job as warden at the prison.

21. Plaintiffs admit the factual contentions in paragraph 21.

22. Plaintiffs dispute the factual contentions in paragraph 22. Because of the extensive nature

   of the rodent infestation at the prison, Defendant Lucero-Ortega would have seen live or



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   dead rodents on numerous occasions at the prison during the years she served as warden.

   See Ex. 2 at 35:1-25, 36:3-7, 16-20, 60:25, 61:1-25, 62:1-24; Ex. 3 at 8:19-25, 9:1-21; Ex.

   4 at 15; Ex. 5 at Declaration of Evangeline Chavez ¶ 16, Declaration of Shannon McDevitt

   ¶¶ 6, 17, Declaration of Ladonna Evans ¶¶ 8-10, Declaration of Jeannette Stinnett ¶¶ 7,

   10-11, Declaration of Stacy Bond ¶¶ 7, 16.

23. Plaintiffs dispute the factual contentions in paragraph 23. Because of the extensive nature

   of the rodent infestation at the prison, Defendant Lucero-Ortega would have seen rodent

   feces in the kitchen area, food hall and housing units on numerous occasions during the

   years she served as warden at the prison. See Ex. 2 at 35:1-25, 36:3-7, 16-20, 60:25, 61:1-

   25, 62:1-24, Ex. 3 at 8:19-25, 9:1-21; Ex. 4 at 15; Ex. 5 at Declaration of Evangeline

   Chavez ¶ 16, Declaration of Shannon McDevitt ¶¶ 6, 17, Declaration of Ladonna Evans ¶¶

   8-10, Declaration of Jeannette Stinnett ¶¶ 7, 10-11, Declaration of Stacy Bond ¶¶ 7, 16.

24. Plaintiffs admit the factual contentions in Paragraph 24.

25. Plaintiffs admit the factual contentions in Paragraph 25.

26. Plaintiffs admit the factual contentions in Paragraph 26 but dispute the implication that

   these devices were in any way useful in addressing the rodent infestation at the prison. See

   Ex. 2 at 78:15-25, 79:1-13; Ex. 3 at 8:19-25, 9:1-13; Ex. 5 at Declaration of Evangeline

   Chavez ¶ 17, Declaration of Shannon McDevitt ¶¶ 17, 30.

27. Plaintiffs dispute the factual contentions in paragraph 27. There is voluminous evidence

   that the sticky traps were not in any way useful in addressing the rodent infestation at the

   prison. See Ex. 2 at 35:1-25, 36:3-7, 37:13-18; Ex. 5 at Declaration of Evangeline Chavez

   ¶ 17, Declaration of Shannon McDevitt ¶¶ 17, 30.



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28. Plaintiffs dispute the factual contentions in paragraph 28. Because of the extensive nature

   of the rodent infestation at the prison, and because she says she often interacted directly

   with inmates, Defendant Lucero-Ortega would have received numerous verbal complaints

   from inmates about the rodent infestation from inmates during the years she served as

   warden at the prison. See Ex. 5 at Declaration of Jeannette Stinnett ¶¶ 27, 29, Declaration

   of Stacy Bond ¶¶ 6, 13, 16, 18; Ex. 8 at 70: 16-25, 71:1-20.

29. Plaintiffs dispute the implication in paragraph 29 that Defendant did not know that inmates

   were complaining about the rodent infestation at the prison. See Ex. 3 at 8:19-25, 9:1-13;

   Ex. 5 at Declaration of Jeannette Stinnett ¶¶ 27, 29, Declaration of Stacy Bond ¶ 6.

30. Plaintiffs dispute the factual contentions in paragraph 30 that Defendant doesn’t remember

   having conversed with inmates regarding the impact of rodents on food service. Given

   Defendant’s own testimony regarding the frequency that she interacted with inmates, it is

   impossible that the subject of the infestation’s impact on food service was never discussed.

   Because the problem of rodents at the facility was such a large subject of concern among

   both inmates and prison staff, it is inconceivable that Defendant does not recall a single

   conversation she had with inmates about this problem. See Ex. 4 at 15; Ex. 5 at Declaration

   Evangeline Chavez ¶¶ 16, 18-19, Declaration of Shannon McDevitt ¶¶ 7, 18-19,

   Declaration of Ladonna Evans ¶ 7-10, Declaration of Jeannette Stinnett ¶ 7-11, 19.

31. Plaintiffs dispute the factual contentions in paragraph 31 that Defendant had no

   conversations with anyone regarding rodents breeding in the walls of the facility. See Ex.

   2 at 113:12-25, 114: 1-3; Ex. 7.

32. Plaintiffs admit the factual contentions in Paragraph 32.



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33. Plaintiffs admit the factual contentions in Paragraph 33.

34. Plaintiffs admit the factual contentions in Paragraph 34 but dispute the implication that this

   single report has any bearing on the magnitude of the rodent problem at WNMCF.

35. Plaintiffs admit the factual contentions in Paragraph 35 but dispute the implication that the

   minimal maintenance work that is described was in any way useful in addressing the rodent

   infestation at the prison.

36. Plaintiffs admit the factual contentions in Paragraph 36 but dispute the implication that the

   minimal maintenance work that is described would have been in any way useful in

   addressing the rodent infestation at the prison or that mistaking a piece of lint for a dead

   mouse is an indication that the infestation was not widespread.

37. Plaintiffs admit the factual contentions in Paragraph 35 but dispute the implication that the

   minimal cleaning that is described was in any way useful in addressing the rodent

   infestation at the prison. Ex. 5 at Declaration of Evangeline Chavez ¶ 9, Declaration of

   Shannon McDevitt ¶ 7-8, Declaration of Ladonna Evans ¶ 11-14, Declaration of Jeannette

   Stinnett ¶ 12.

38. Plaintiffs admit the contentions in Paragraph 38 but note that Defendant has failed to

   include additional reports from the NMED citing the prison for food sanitation violations

   based on the presence of rodents. See Ex. 10.

                     III.       ADDITIONAL MATERIAL FACTS (“AMFs”)

A. During the years Defendant Lucero-Ortega served as warden, and while Plaintiffs were

   incarcerated there, an extensive rodent infestation existed at the women’s prison. Exhibits

   2-7, 9 and 10.


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B. The infestation was particularly rampant in the prison’s food services areas where Plaintiffs

   worked. Ex. 2 at 68:20-25, 69:1-15; Ex. 3 at 11:8-23, 12:8-19; Ex. 4; Ex. 5-7.

C. Rodent droppings and actual rodents, living or dead, were frequently found in food served

   to inmates at the prison. Ex. 4; Ex. 5 at Declaration of Evangeline Chavez ¶ 18-19,

   Declaration of Ladonna Evans ¶ 8-9, Declaration of Jeannette Stinnett ¶ 7-8; Ex. 6.

D. Because of the magnitude of the infestation, inmates at the facility feared for their physical

   safety. Ex. 5 at Declaration of Evangeline Chavez ¶¶ 12, 22-23, Declaration of Shannon

   McDevitt ¶ 31, Declaration of Ladonna Evans ¶ 36-37, Declaration of Jeannette Stinnett

   ¶ 18.

E. Every prison staff member, from the warden on down, would know that a large rodent

   infestation can pose a serious health risk to inmates. Ex. 6 at ¶ 10.

F. Defendant Lucero-Ortega denies the magnitude and seriousness of the infestation at the

   prison during her tenure as warden. Ex. 8 at 71:14-25, 72:1-9.

G. Defendant Lucero-Ortega denies knowing about the magnitude of the infestation at the

   prison during her tenure as warden. Ex. 8 at 47:9-22, 71:14-25, 72:1-9.

H. Defendant Lucero-Ortega knew about the rodent infestation because it was obvious to

   everyone who worked or was incarcerated at the prison. Ex. 2 at 68:20-25, 69:1-15; Ex. 3

   at 11:8-23, 12:8-19; Ex. 4; Ex. 5-7.

I. Defendant Lucero-Ortega also was made aware of the rodent problem at the prison because

   Berleen Estevan and Ian Tillotson told her it was a problem. Ex. 2 at 40:1-7, 113:12-25,

   114:1-3; Ex. 9 at 29:15-25, 30:1-20.




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J. Defendant Lucero-Ortega also was made aware of the rodent problem because it was a

   subject of discussion in leadership meetings at the prison. Ex. 2 at 40:15-25, 41:1-9; Ex. 3

   at 19:12-15.

K. Defendant Lucero-Ortega also was made aware of the rodent problem because during her

   tenure as warden the prison was cited by NMED for violations due to the presence of

   rodents in and around food service. Ex. 10.

L. During Lucero-Ortega’s tenure as warden while Plaintiffs were incarcerated at the prison,

   Defendant Sanchez was responsible for ensuring effective pest control at the prison. Ex.

   11 at 12.

M. Defendant Sanchez knew rodents presented a problem throughout the prison. Ex. 2 at 26:7-

   25, 27:1-5, 29:10-15, Ex. 4.

N. Defendant Sanchez sometimes reported directly to Defendant Lucero-Ortega. Ex. 8 at

   26:7-21.

O. Even when he did not report directly to her, she received reports from him and other

   information from him through the Deputy Warden. Id.

P. Defendant Lucero-Ortega received communications from Defendant Sanchez that rodents

   posed a serious problem at the prison. Id; Ex. 4; Ex. 12 at 5-6.

Q. As warden, Defendant Lucero-Ortega was ultimately responsible for the health and safety

   of all inmates at the prison. Ex. 11 at 5.

R. While she served as warden, Defendant Lucero-Ortega knew that the minimal efforts taken

   by her staff to address the rodent infestation were completely ineffective. Ex. 2 at 113:12-

   25, 114:1-3.



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    S. Defendant Lucero-Ortega could have taken reasonable steps to ensure that the rodent

        infestation at the prison was adequately addressed but she failed to do so. Id; Ex. 6.

    T. In fact, Defendant Lucero-Ortega actively took steps to cover up the infestation by not

        allowing inspectors to do unannounced visits as would occur in a commercial food

        establishment. Ex. 5 at Declaration of Evangeline Chavez ¶ 9, Declaration of Shannon

        McDevitt ¶ 7-8, Declaration of Ladonna Evans ¶ 11-14, Declaration of Jeannette Stinnett

        ¶ 12.

                                         IV.     GOVERNING LAW

        In a summary judgment motion, the moving party bears the burden of demonstrating the

absence of a genuine issue of material fact. See Shapolia v. Los Alamos Nat’l Lab., 992 F.2d 1033,

1036 (10th Cir. 1993). Once the moving party meets its burden, the nonmoving party must show that

genuine issues remain for trial “as to those dispositive matters for which it carries the burden of

proof.” Applied Genetics Int’l Inc. v. First affiliated Secs., Inc., 912 F.2d 1238, 1241 (10th Cir. 1991)

(citations omitted). Rather than “merely show there is some metaphysical doubt as to the material

facts,” the nonmoving party is required to “go beyond the pleadings and by affidavits or depositions,

answers to interrogatories, and admissions on file, designate specific facts showing there is a genuine

issue for trial.” Kaus v. Standard Ins. Co., 985 F. Supp 1277, 1281 (D. Kan. 1997), aff’d, 162 F.3d

1173 (10th Cir. 1998). There is no issue for trial unless there is sufficient evidence favoring the

nonmoving party for a jury to return a verdict for that party. See Anderson v. Liberty Lobby, Inc.,

477 U.S. 242, 242-48 (1986). Upon a motion for summary judgment, the Court “must view the facts

in the light most favorable to the nonmovant and allow the nonmovant the benefit of all reasonable

inferences to be drawn from the evidence.” Kaus, 985 F. Supp at 1281.


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                                            V.      ARGUMENT

           Defendant Lucero-Ortega presents two arguments in support of her Motion: 1) The Duran

Settlement Agreement prohibits Plaintiffs from asserting their claims based on the doctrine of claim

preclusion; and 2) Defendant is entitled to qualified immunity. Both of Defendant’s arguments are

invalid.

    a. Plaintiffs’ claims are not barred by the claim preclusion doctrine.2

           Defendant’s Motion falsely asserts that the Duran consent decree bars Plaintiffs from

bringing this litigation based on the doctrine of claim preclusion. “Under Tenth Circuit law, claim

preclusion applies when three elements exist: (1) a final judgment on the merits in an earlier action;

(2) identity of parties or privies in the two suits; and (3) identity of the cause of action in both

suits.” MACTEC Inc. v. Gorelick, 427 F.3d 821, 831 (10th Cir.2005); Pelt v. Utah, 539 F.3d 1271,

1281 (10th Cir. 2008). To foreclose Plaintiffs’ lawsuit based on claim preclusion, Defendant

Lucero-Ortega bears the burden of proving all three elements. Id. She has failed to prove any of

the required elements.




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  Defendant’s Motion asserts that Plaintiffs’ claims are barred by res judicata, an umbrella term
that includes the doctrines of both claim preclusion and issue preclusion. Taylor v. Sturgell, 553
U.S. 880, 892, 128 S. Ct. 2161, 2171, 171 L. Ed. 2d 155 (2008). Since her Motion only addresses
the required elements of claim preclusion, Plaintiffs have focused on addressing claim preclusion
in this Response. They note, however, that Defendant would also fail in attempting to block the
present lawsuit based on issue preclusion. This is because the fundamental issues at the heart of
the present lawsuit – whether there was a rodent infestation at the prison and whether
Defendant’s failure to address it violated Plaintiffs’ rights – were never addressed in the Duran
litigation.


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       1. The Duran settlement agreement does not constitute of final judgment on the merits
          regarding the claims presented in Plaintiffs’ lawsuit.

       While the Duran consent decree has been in existence for decades, the issue of rodents did

not receive a final judgment from the Court until the Court issued its Order Granting Final

Approval of Second Revised Settlement Agreement on February 14, 2020. DMF ¶¶ 14-16.

Plaintiffs were released from the prison in 2019. DMF ¶¶ 2-3. “Once decided in a court of

competent jurisdiction, merits of a legal claim are not subject to redetermination in another forum.”

N. Nat. Gas Co. v. Grounds, 931 F.2d 678, 681 (10th Cir. 1991). Defendant Lucero-Ortega

acknowledges that the Second Revised Settlement Agreement in Duran is the relevant “final

judgment” for assessing whether she has met her burden of proving the first required element of

the claim preclusion doctrine. Defendant’s Motion [DOC 78] at 12-13. Yet her Motion fails to note

that this final judgment occurred after Plaintiffs were released from the prison. For claim

preclusion to function as a bar to a future lawsuit, the final judgment in question needs to have

occurred prior to the incidents giving rise to the claims in that future lawsuit. MACTEC, Inc. v.

Gorelick, 427 F.3d 821, 831 (10th Cir. 2005). That clearly did not happen here. The constitutional

violation suffered by Plaintiffs occurred before the Court granted any relief whatsoever to the

parties in the Duran suit. DMF ¶¶ 14-16.

       To allow claim preclusion to block Plaintiffs’ claims in the present lawsuit would result in

a bizarre outcome. By all accounts, the minimal level of pest control at WNMCF required by the

Duran consent decree has been functionally useless. AMF P. But this minimal injunctive relief is

doubly useless to Plaintiffs because their constitutional rights were already violated before the

relevant Duran provisions came into effect. DMF ¶¶ 2-3, 14-16. Because the relief provided to

inmates via Duran occurred after Plaintiffs were released, Defendant Lucero-Ortega has failed to


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meet her burden of proving this first requirement of the claim preclusion doctrine. Id. See also

Wilkes v. Wyoming Dep't of Emp. Div. of Lab. Standards, 314 F.3d 501, 504 (10th Cir. 2002), as

amended (Jan. 14, 2003) (holding that claim preclusion applies only when final judgment occurred

in an earlier action).

        2. The parties in the Duran litigation are fundamentally different from the parties in
           Plaintiffs’ lawsuit.

        For claim preclusion to function as a bar to future litigation, the parties in the previous

lawsuit must be the same as the parties in the subsequent lawsuit. Pelt v. Utah, 539 F.3d 1271,

1281 (10th Cir. 2008). That simply is not the case here. Although Defendant Lucero-Ortega is

neither a named nor unnamed Defendant in the Duran litigation, she argues that “privity” exists

between her and the Duran Defendants. Defendant’s Motion [DOC 78] at 14-17. “Privity requires,

at a minimum, a substantial identity between the issues in controversy and showing the parties in

the two actions are really and substantially in interest the same.” Lowell Staats Min. Co. v.

Philadelphia Elec. Co., 878 F.2d 1271, 1275 (10th Cir.1989). Here, Defendant is being sued in her

individual capacity based on her specific role in violating the constitutional rights of Plaintiffs.

She is being sued because she failed to do her job as warden to protect the health and well-being

of Plaintiffs. Similarly, she is being sued for failing to ensure that federal and state sanitation laws,

as well as NMCD’s own policies, were followed at the facility that she oversaw. Amended

Complaint [DOC 44] at 2.

        Individual capacity lawsuits like the present one seek to impose personal liability on an

individual person. Kentucky v. Graham, 473 U.S. 159, 165, 105 S. Ct. 3099, 3105, 87 L. Ed. 2d

114 (1985). In this case, Lucero-Ortega is being sued because of her specific individual failures to

address the infestation. Official capacity lawsuits like the Duran litigation, on the other hand,


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impose liability on a governmental entity. Id. In Duran, the governor of New Mexico is being sued

in her official capacity, which means the de facto Defendant in that lawsuit is the State of New

Mexico. Because Defendant Lucero-Ortega is being sued in her individual capacity, no privity

exists between her and the State of New Mexico with regard to the Duran litigation. Lowell, 878

F.2d at 1275.

       Furthermore, as Defendant Lucero-Ortega acknowledges, the Duran litigation is a class

action lawsuit by current and future inmates detained in NMCD prisons. This means that Plaintiffs

in the present lawsuit are not class members in Duran, and they were not class members when they

filed the present lawsuit. Because Defendant Lucero-Ortega cannot show privity between herself

and the State of New Mexico, and because Plaintiffs in the present lawsuit are not Duran class

members, Defendant has failed to meet the second prong of the claim preclusion test. Pelt v. Utah,

539 F.3d 1271, 1281 (10th Cir. 2008).

       3. The cause of action in the Duran litigation is fundamentally different from the cause
          of action in Plaintiffs’ lawsuit.

       The most glaringly obvious reason why Defendant’s claim preclusion argument fails is

because the present lawsuit and the Duran litigation have completely different causes of action.

Plaintiffs brought this lawsuit against Defendant Lucero-Ortega because of her specific individual

role in violating their constitutional rights under the Eighth Amendment. They seek monetary

damages for the violation of their rights resulting from Defendant’s failure to fulfill her duties in

protecting their health and well-being. Conversely, Duran is an injunctive class action lawsuit that

does not – and actually cannot – result in individualized monetary damages for people who have

been incarcerated in NMCD facilities. See Defendant’s Motion [DOC 78], Ex. A at 1-3. The U.S.

Supreme Court has held unequivocally that the kind of individualized monetary claims presented


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in Plaintiffs’ lawsuit must proceed separately from any class action for injunctive relief because

they are fundamentally distinct claims. Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 360–63, 131

S. Ct. 2541, 2557–59, 180 L. Ed. 2d 374 (2011) (disallowing class certification when specific

“class members would be entitled to an individualized award of monetary damages.”).

       A class action lawsuit is an exception to the usual rule that litigation is conducted by and

on behalf of individually named parties only. Id. at 348. Exceptions to this rule are only allowed

when individual members of the class “possess the same interest and suffer the same injury” as the

class generally. Id. Here, Plaintiffs’ specific harms, interests and remedies sought are

individualized and therefore completely different from those sought by Duran class members as a

whole. For these reasons, Defendant Lucero-Ortega has likewise failed to meet the third element

of the claim preclusion test.

   b. Defendant Lucero-Ortega is not entitled to qualified immunity.

       As a prison warden, Defendant Lucero-Ortega enjoys the luxury of raising a qualified

immunity defense. The doctrine of qualified immunity provides that “governmental officials

performing discretionary functions generally are shielded from liability for civil damages insofar as

their conduct does not violate clearly established statutory or constitutional rights of which a

reasonable person would have known.” Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982). Whether

qualified immunity exists is a question of law. Guffey v. Wyatt, 18 F.3d 869, 871 (10th Cir. 1994).

Although the qualified immunity cases previously required courts to first evaluate whether a

constitutional violation occurred and then turn to whether the right being violated is clearly

established, the Supreme Court of the United States recently adjusted its analysis. In Pearson v.

Callahan, 555 U.S. 223, 129 S.Ct. 808 (2009), the Court held that the established procedure—



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assessing whether there was a constitutional violation first and whether the relevant law was clearly

established second—“should not be regarded as an inflexible requirement.” Id. at 813. Since

Defendant’s Motion addresses whether the law was clearly established first, Plaintiffs’ response will

address this requirement first as well.

        1. The Eighth Amendment right to not be subjected to a dangerous rodent infestation was
           clearly established when Defendant Lucero-Ortega was warden.

        Tenth Circuit caselaw regarding the constitutional ramifications of rodent infestations in

prisons is longstanding and well-developed. The right to not be subjected to the kind of infestation

that Plaintiffs were forced to live through at the women’s prison has been clearly established for

decades. When determining if a right is clearly established, courts look to see if the contours of the

right are “sufficiently clear that a reasonable official would understand that what he is doing violates

that right.” Anderson v. Creighton, 483 U.S. 635, 640 (1987). “Ordinarily, in order for the law to be

clearly established, there must be a Supreme Court or Tenth Circuit decision on point, or the clearly

established weight of authority from other courts must have found the law to be as the plaintiff

maintains.” Medina v. City & County of Denver, 960 F.2d 1493, 1498 (10th Cir. 1992). That said, it

is not necessary to find previous cases involving fundamentally similar facts. Hope v. Pelzer, 536

U.S. 730, 741, 122 S. Ct. 2508, 2516, 153 L. Ed. 2d 666 (2002). In fact, “officials can still be on

notice that their conduct violates established law even in novel factual circumstances.” Id. at 754.

The “salient question” is whether the state of the law at the time of the incident gave the defendants

“fair warning” that their conduct was unconstitutional. Id. at 741. Once the plaintiff has established

the inference that the defendant’s conduct violated a clearly established constitutional right, a

qualified immunity defense generally fails. See Cannon v. City & Cty. Of Denver, 998 F.2d 867,

870-71 (10th Cir. 1993).


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       Inmates are entitled to be confined in an environment which does not threaten their mental

and physical well-being. Battle v. Anderson, 564 F.2d 388, 403 (10th Cir. 1977). Prisons are

required to provide inmates with “a healthy habilitative environment.” Id. at 568. “This includes

providing nutritionally adequate food that is prepared and served under conditions which do not

present an immediate danger to the health and well being of the inmates who consume it.” Ramos

v. Lamm, 639 F.2d 559, 570–71 (10th Cir. 1980). A rodent infestation that creates unsanitary

conditions in food service in a prison can rise to the level of a constitutional violation. Id. at 570-

572 (10th Cir. 1980). In Ramos, the Court found that the conditions caused by a rodent infestation

at a prison in Colorado were “grossly inadequate and constitutionally impermissible.” Id. Because

the Court in Ramos found that a rodent infestation can rise to the level of a constitutional violation,

the law on this matter was clearly established during Plaintiffs’ incarceration while Defendant

Lucero-Ortega served as prison warden. In cases where inmates and prison staff observed rodent

feces and actual rodents literally in and on food being served to them “a reasonable jury could

conclude that the risk of harm . . . is both substantial and obvious.” Byrd v. Hobart, 761 F. App'x

621, 624 (7th Cir. 2019). At a minimum, the psychological harm of living in such conditions will

be obvious to any jury. Gray v. Hardy, 826 F.3d 1000, 1008 (7th Cir. 2016). As illustrated below,

the conditions Susie and Monica endured at the women’s prison in Grants were at least as

horrendous and arguably much worse than those described in Ramos. Because Defendant Lucero-

Ortega had fair warning through Tenth Circuit caselaw that her inaction regarding the rodent

infestation was constitutionally impermissible, she has failed to meet the first requirement

necessary for her to benefit from the defense of qualified immunity.




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       2. Defendant Lucero-Ortega violated Plaintiffs’ constitutional rights.

       By failing to address the rodent infestation at the women’s prison, Defendant Lucero-

Ortega violated Susie and Monica’s Eighth Amendment rights. To prove a constitutional violation,

Plaintiffs are required to show Defendant Lucero-Ortega acted with deliberate indifference to the

substantial risk of serious harm posed by the rodent infestation. Barrie v. Grand Cty., Utah, 119

F.3d 862, 869 (10th Cir. 1997). Deliberate indifference is a difficult standard for Plaintiffs to prove

as it requires more than negligent behavior. However, it does not require that Plaintiffs prove that

Defendant Lucero-Ortega actually wished harm to befall them; it simply requires that they show

she was indifferent in the face of an obvious risk of harm. See Farmer v. Brennan, 511 U.S. 825,

842 (1994) (in which the Supreme Court explained a plaintiff may prove awareness of a substantial

risk of harm through circumstantial evidence that the risk was obvious). A determination of

deliberate indifference has two requirements. First, the risk to Plaintiffs must be obvious, and

second, the Defendant must know of the risk and disregard it. Farmer, 511 U.S. 825, 114 S.Ct.

1970. Plaintiffs can show that a defendant knew of a substantial risk by circumstantial evidence,

including the fact that the risk was obvious. Id. at 842.

       While Defendant Lucero-Ortega served as warden, the infestation was out of control at the

prison. AMF ¶¶ A-D. People who worked or were detained at the prison saw rodents and rodent

feces every day. AMF ¶ A. The infestation was concentrated in and around the prison’s food

service areas, where Plaintiffs worked. AMF ¶ B. Because of this, the infestation presented a

profound and obvious danger to them. Id. Rodents continuously scurried around the kitchen and

cafeteria and chewed into bags of food. Id. There were so many rodents in the kitchen that inmates

working there sometimes felt them crawling across the tops of their feet while they worked. Id.



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Rodent nests were sometimes found in and around the kitchen, and rodent feces were often found

in the food served to inmates. AMF ¶ C. Sometimes even actual rodents, alive or dead, were found

in the food served to inmates. Id. In a vain attempt to addres the infestation, Plaintiffs had to kill

rodents when they worked in the kitchen. Id. Most of the women incarcerated at the prison felt

extreme levels of stress due to the obvious health risks posed to them by the infestation. AMF ¶

D.

        The serious risk posed by a rodent infestation of this magnitude will be obvious to anyone.

AMF ¶¶ A-E. Our fear of rodents is ingrained in our psyches because it has been common

knowledge for millennia that infestations of rodents are profoundly dangerous to human health.

Even the Old Testament refers to pestilence generated by rodents, and every high school student

knows that the “Black Death” wiped out a third of Europe’s population and was transmitted by

fleas carried by rodents. AMF ¶ E. Everyone who has lived in New Mexico for any length of time

likewise knows that the deadly hantavirus is carried by rodents and is more prevalent in rural

settings like the prison where Susie and Monica were detained. Id. The U.S. Constitution, federal

and state law, and the New Mexico Corrections Department’s (“NMCD’s”) own policies all

require that excessive numbers of rodents in prisons be addressed to protect the health and well-

being of inmates.

        Plaintiffs’ additional material facts make it crystal clear that Defendant Lucero-Ortega was

well-aware of the dangerous magnitude of the rodent infestation. AMF ¶¶ F-P. As warden, she was

responsible for protecting the health and safety of Plaintiffs and other women incarcerated at the

prison. AMF ¶ Q. Defendant Lucero-Ortega knew that the minimal efforts taken by prison staff to

address the infestation had been ineffective. AMF ¶ R. She was required to take reasonable steps



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to address the infestation at the prison, but she failed to do so, and even allowed for prison staff to

cover up the infestation from inspectors. AMF ¶¶ S-T. These facts clearly demonstrate Defendant

Lucero-Ortega violated Plaintiffs’ rights by being deliberately indifferent to the serious and

obvious risk of harm posed to them by the infestation.

                                           VI.     CONCLUSION

        Defendant Lucero-Ortega failed to meet any of the elements necessary to assert claim

preclusion. She likewise failed to show the elements necessary to benefit from the defense of

qualified immunity. Because she has failed to meet these legal tests, and because numerous disputes

of material fact exist in this litigation, Defendant is not entitled to summary judgment. A jury should

evaluate Plaintiffs’ claims.

        WHEREFORE, Plaintiffs respectfully request the Court DENY Defendant’s Motion.



                                                       Respectfully submitted,

                                                       /s/ Steven Robert Allen
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I hereby certify that on July 13, 2022 a true copy of the foregoing Response was filed with the
Court’s electronic filing system and served by that system on all counsel of record, as well as an
additional courtesy copy being provided by e-mail.


/s/ Steven Robert Allen


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